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 1                                                       District Court Judge James L. Robart
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                           UNITED STATES DISTRICT COURT FOR THE
 5                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 6
 7    UNITED STATES OF AMERICA                             NO. CR 19-117-JLR
 8
                               v.                          PROPOSED JOINT STATEMENT OF
 9                                                         FACTS
      SHAWNA REID,
10
11                             Defendant.
12
13          The United States of America, by and through its counsel of record, Nicholas L.
14 McQuaid, Acting Assistant Attorney General, United States Department of Justice, and
15 Matthew Hoff and Christina Taylor, Department of Justice Trial Attorneys, and the
16 defendant, Shawna Reid, by and through her counsel of record, Michael Nance and Robert
17 Gombiner, hereby submit to the Court their Proposed Joint Statement of Facts for the jury
18 trial in above-entitled matter, scheduled to begin on July 13, 2021, before this Court.
19                             PROPOSED JOINT STATEMENT OF FACTS
20          Shawna Reid is charged with obstruction of justice and making a false declaration
21 before the grand jury, relating to statements she made to government authorities in 2017
22 and 2018.
23          In October 2001, a federal prosecutor, Thomas Wales, was shot and killed in his
24 home in Seattle. In the fall of 2017, as part of the ongoing investigation, investigators
25 interviewed Ms. Reid. In February 2018, Ms. Reid appeared before a federal grand jury
26 pursuant to a subpoena and compulsion order.
27
28   Joint Proposed Statement of Facts                           ASSISTANT ATTORNEY GENERAL
                                                                    1301 NEW YORK AVENUE, NW
     United States v. Reid, No. CR19-117JLR – 1
                                                                             SUITE 700
                                                                      WASHINGTON, D.C. 20005
                                                                           (202) 514-3594
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1           The charges in this case concern what Ms. Reid initially told investigators, whether
2 she falsely denied making those statements at a later time, and whether she made materially
3 false statements in her testimony before the grand jury in February 2018.
4
5 DATED this 29th day of June 2021.
6
7 Respectfully submitted,
8    Nicholas L. McQuaid
     Acting Assistant Attorney General                /s/Michael Nance
9                                                     Michael Nance
                                                      Attorney for Shawna Reid
10   /s/Matthew K. Hoff
     MATTHEW K. HOFF
11                                                    /s/Robert Gombiner
     Trial Attorney
                                                      Robert Gombiner
12
                                                      Attorney for Shawna Reid
     /s/ Christina Taylor
13
     CHRISTINA TAYLOR
14   Trial Attorney
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28   Joint Proposed Statement of Facts                            ASSISTANT ATTORNEY GENERAL
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